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 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
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11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 ADMINISTRATIVE MOTION FOR
14         v.                                    LEAVE TO FILE SURREPLY RE
                                                 MOTION TO COMPEL DISCOVERY
15   NSO GROUP TECHNOLOGIES LIMITED              REGARDING AWS SERVER
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Judge: Hon. Phyllis J. Hamilton
                 Defendants.
17                                               Action Filed: 10/29/2019
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1   I.       INTRODUCTION

 2            Pursuant to Civil Local Rules 7-3(d) and 7-11, Defendants NSO Group Technologies

 3   Limited and Q Cyber Technologies Limited (collectively, “NSO”) respectfully submit this

 4   Administrative Motion for Leave to File a Surreply to Plaintiffs’ July 15th Reply in Support of

 5   their Motion to Compel Discovery regarding the AWS Server (the “Motion”). NSO seeks leave

 6   to file the Surreply, attached hereto, to respond only to new issues raised by Plaintiffs in their

 7   Reply, along with a short supporting Declaration of Joseph N. Akrotirianakis. See Iglesia

 8   Cristiana Luz y Verdad v. Church Mut. Ins. Co., No. 15-CV-05621-RMW, 2016 WL 692839, at

 9   *2 n.2 (N.D. Cal. Feb. 19, 2016) (granting leave to file a surreply when new arguments were raised

10   in a reply).

11   II.      ARGUMENT

12            In their Motion, Plaintiffs’ argued that “NSO Should Be Compelled to Provide Discovery

13   Responsive to Plaintiffs’ Request for Production No. 30.” (Dkt. No. 331 at 3-4.) For the first time

14   on Reply, Plaintiffs changed their argument to assert, for the first time, that the Court had, in

15   February 2024, actually already granted a motion [Dkt. No. 235] (“Prior Motion”) with respect to

16   Request for Production No. 30 and Request for Admission No. 38, because the Order granting the

17   Prior Motion made reference to “full functionality.” That assertion is false—these requests were

18   plainly part of category 4 in the Prior Motion, which the Court denied in its Order granting the

19   Prior Motion in part and denying it in part [Dkt. No. 292]. However, raising its new argument

20   only on Reply sandbags Defendants. Had Plaintiffs included this argument in the Motion,

21   Defendants would have included additional arguments in their opposition, including, for example,

22   that in the oral argument on the Prior Motion, the Court introduced category 4 by explaining that

23   “the last category was with regard to the server—the NSO server….”

24            Defendants would have also explained the background of the dispute over category 2 that

25   led to the statement in the Court’s Order regarding “full functionality.” Defendants had objected

26   to the scope of Plaintiffs’ document requests because they believed that only information about

27   the “installation layer” of their products was relevant, because that was the only layer that involved

28   any use whatsoever of WhatsApp servers. The Court overruled this objection in granting the Prior
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 1   Motion as to category 2, holding that Plaintiffs’ document requests should be interpreted as

 2   covering all layers of Defendants’ products, i.e., the full functionality, rather than just the

 3   installation layer. But by resolving that dispute in Plaintiffs’ favor, the Court did not compel

 4   production of Pegasus code (which is unequivocally export-controlled and extremely sensitive).

 5   Rather, the Court required Defendants to produce documents sufficient to show “full

 6   functionality,” rather than just the “installation layer.”

 7           “It is well established in this circuit that ‘[t]he general rule is that appellants cannot raise a

 8   new issue for the first time in their reply briefs.’” Nw. Acceptance Corp. v. Lynnwood Equip., Inc.,

 9   841 F.2d 918, 924 (9th Cir. 1988) (internal quotations omitted). This Court “need not consider

10   arguments” that Plaintiffs have disingenuously “raised for the first time in a reply brief.” See

11   Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007). Where “a party raises a new argument or

12   presents new evidence in a reply brief, however, a court may consider these matters only if the

13   adverse party is given an opportunity to respond.” GT Nexus, Inc. v. Inttra, Inc., 2014 WL

14   3373088, at *1 (N.D. Cal. July 9, 2014). Defendants were not afforded an opportunity to state

15   these positions regarding the Prior Motion and the Court’s ruling on it. Accordingly, Defendants

16   should be given an opportunity to respond in the attached, brief Surreply. See GT Nexus, 2014 WL

17   3373088, at *1 (granting leave to file a surreply where “it is undisputed that [party’s] reply brief

18   contains new legal argument and new evidence . . ..”).

19   III.    CONCLUSION

20           For the foregoing reasons, Defendants respectfully request that the Court grant them leave

21   to file a Surreply in response to the arguments Plaintiffs have raised for the first time on Reply,

22   attached to the Declaration of Joseph N. Akrotirianakis, submitted in support of this Motion.

23   DATED: July 19, 2024                                KING & SPALDING LLP
24                                                       By: /s/Joseph N. Akrotirianakis
                                                             JOSEPH N. AKROTIRIANAKIS
25
                                                             AARON S. CRAIG
26
                                                               Attorneys for Defendants NSO GROUP
27                                                             TECHNOLOGIES LIMITED and Q
                                                               CYBER TECHNOLOGIES LIMITED
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